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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                              Magistrate Judge N. Reid Neureiter

Civil Action No: 21-cv-00387-NRN                         Date: September 30, 2021
Courtroom Deputy: Román Villa                            FTR: Courtroom C203

 Parties:                                                Counsel:

 DARLENE GRIFFITH,                                       Andrew Joseph McNulty

      Plaintiff,

 v.

 JANE DOE (DEPUTY),                                      Christopher Michael Strider
 JOHN DOE (DEPUTY), and                                  Nathan James Whitney
 MR. DRAPPER (DEPUTY),

      Defendants.


                                      COURTROOM MINUTES


TELEPHONIC STATUS CONFERENCE

9:31 a.m.          Court in session.

Court calls case. Appearances of counsel.

Status of the case is discussed.

ORDERED: Plaintiff shall file Amended Complaint by October 4, 2021. Defendants
         shall be served by October 22, 2021.

ORDERED: A Telephonic Status Conference is set for November 10, 2021 at 2:30
         p.m. before Magistrate Judge N. Reid Neureiter. The parties are directed
         to call the conference line as a participant at (888) 398-2342, Access
         Code 5755390# at the scheduled time.

9:38 a.m.          Court in recess.


Hearing concluded.
Total in-court time: 00: 07
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